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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )
                                                       )       Crim. No. 19-10141-LTS
SHELLEY M. RICHMOND JOSEPH,                            )
                                                       )
                       Defendant.                      )


        UNITED STATES’ OPPOSITION TO DEFENDANT JOSEPH’S MOTION
        FOR AN ORDER REQUIRING THE PRODUCTION AND INSPECTION
                  OF PROSECUTORS’ AND AGENTS’ NOTES

       Defendant Joseph seeks an order requiring the government to produce all prosecutors’

and agents’ notes from interviews of government witnesses. Doc. No. 33. The Court should deny

the motion because the government has met its discovery obligations and the notes are not

discoverable. To the extent that Joseph asks the Court to review the notes in camera, her request,

made long before Jencks Act materials are due, is premature.

                                           ARGUMENT

       The government has produced all information that is exculpatory within the meaning of

Brady v. Maryland, 373 U.S. 83 (1963), and/or Local Rule 116.2(a), including information that

may also fall under the definition of Jencks Act material. See 18 U.S.C. § 3500.

       Joseph requests an order directing the government to produce “forthwith” all prosecutor

and agent notes of government witness interviews that may fall under the Jencks Act (or Fed. R.

Crim. P. 26.2, which incorporates the Jencks Act). Def. Mot. at 1. Under the Jencks Act a

defendant is not entitled to a witness’s statement, of course, “until said witness has testified on

direct examination in the trial of the case.” 18 U.S.C. § 3500(a); see, e.g., United States v. Neal,

36 F.3d 1190, 1197 (1st Cir. 1994). Although Joseph asserts that “[c]onstitutional mandates”

trump the Jencks Act, Def. Mot. at 5, she cites no case in support of her position. In fact, district
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courts are not empowered to compel the government to produce a Jencks statement early except

where, unlike here, the statement falls under Brady or Giglio v. United States, 405 U.S. 150

(1972). See United States v. Perry, 37 F. Supp. 3d 546, 560-61 (D. Mass. 2014) (citing cases).

       In any event, even if the Court were empowered to order the production of early Jencks,

the notes sought by defendant Joseph do not fall under the Jencks Act. There are only two

categories of “statements” discoverable under the Jencks Act other than grand jury transcripts:

(1) “a written statement made by [the] witness and signed or otherwise adopted or approved by

him”; and (2) “a stenographic, mechanical, electrical, or other recording, or a transcription

thereof, which is a substantially verbatim recital of an oral statement made by said witness and

recorded contemporaneously with the making of such oral statement.” 18 U.S.C. § 3500(e)(1)-

(2). There are no such statements here.

       When prosecutors and agents interviewed witnesses, they took only rough handwritten

notes. They did not take notes on a laptop, as suggested on page 3 of Joseph’s motion. They did

not write down witness statements in the form of “substantially verbatim recital[s]” as Joseph has

alleged. See id. None of the interviews was audio- or video-recorded. Neither the agents nor the

prosecutors showed their notes to any witness to sign or otherwise approve or adopt. Cf.

Goldberg v. United States, 425 U.S. 94, 98 (1976) (holding that a written summary of a witness’s

statement adopted by the witness is producible under the Jencks Act even if prepared by a

prosecutor instead of an agent), cited in Def. Mot. at 2. After each interview, the agent used his

handwritten notes, together with his memory, to type up a report summarizing the witness’s

statement. No such statement was shown to any witness to sign or otherwise approve or adopt.

To the extent that any such witness testifies in the government’s case-in-chief, the government



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will produce these witness statement reports to defense counsel consistent with its obligations

under the Jencks Act and the Local Rules.

       The handwritten notes, however, are not producible. As the Supreme Court has

explained:

         [In enacting the Jencks Act,] Congress was concerned that only those
         statements which could properly be called the witness’ own words should be
         made available to the defense for purposes of impeachment. It was important
         that the statement could fairly be deemed to reflect fully and without distortion
         what had been said to the government agent. Distortion can be a product of
         selectivity as well as the conscious or inadvertent infusion of the recorder’s
         opinions or impressions. It is clear from the continuous congressional emphasis
         on “substantially verbatim recital,” and “continuous, narrative statements made
         by the witness recorded verbatim, or nearly so,” that the legislation was
         designed to eliminate the danger of distortion and misrepresentation inherent in
         a report which merely selects portions, albeit accurately, from a lengthy oral
         recital. Quoting out of context is one of the most frequent and powerful modes
         of misquotation. We think it consistent with this legislative history, and with
         the generally restrictive terms of the statutory provision, to require that
         summaries of an oral statement which evidence substantial selection of
         material, or which were prepared after the interview without the aid of complete
         notes, and hence rest on the memory of the agent, are not to be produced.
         Neither, of course, are statements which contain the agent’s interpretations or
         impressions.

Palermo v. United States, 360 U.S. 343, 352-53 (1959) (citation omitted). In light of this

directive, the First Circuit has held that “a longhand writing which the court found fairly

followed the witness’ words, subject to minor, inconsequential errors” would fall within

Subsection (e)(2) of the Jencks Act. Neal, 36 F.3d at 1198 (internal quotation marks omitted).

       The undersigned AUSAs have reviewed their own handwritten notes as well as the agent

notes and represent that none of them meets this description. If, after the government produces

Jencks Act material (including typed reports documenting witness statements), Joseph has a

basis to believe that prosecutor and/or agent notes also fall under Jencks, she may make a motion



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at that time asking the Court to review the subject notes in camera. See, e.g., United States v.

Zolot, Crim. No. 11-10070-PBS, 2014 WL 2998985, at *2-3 (D. Mass. July 1, 2014) (finding,

after in camera review at trial, that agent’s notes were not producible under Jencks; although

they “captured[d] the gist” of the witness’s statements, “with some words and phrases recorded

verbatim,” the notes were “more properly characterized as a selective and paraphrased version of

the facts as recounted to the interviewers, with occasional quotes”). At this point, however, long

before Jencks materials are due, Joseph’s request for in camera review of any interview notes is

premature. See Def. Mot. at 4.

                                         CONCLUSION

       The government respectfully requests that the Court deny defendant Joseph’s motion.

                                              Respectfully submitted,

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                                              s/ Dustin Chao
                                              DUSTIN CHAO




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